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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-01073-CMA-GPG

  THE AARON H. FLECK REVOCABLE TRUST, through its Trustees,
       Aaron H. Fleck and Barbara G. Fleck,
  THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees,
       Aaron H. Fleck and Barbara G. Fleck,
  AARON FLECK, and
  BARBARA G. FLECK, on behalf of themselves and all others similarly situated,
       Plaintiffs,
  v.
  FIRST WESTERN TRUST BANK,
  CHARLES BANTIS, and
  ANDREW GODFREY,
       Defendants.

   DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ FIRST SET OF
                       DISCOVERY REQUESTS


           Defendants First Western Trust Bank, Charles Bantis, and Andrew Godfrey

  (collectively, “Defendants”) respond as follows to Plaintiffs’ First Set of Interrogatories and

  Requests for Production, dated November 12, 2021 (the “Requests”).

                                     GENERAL OBJECTIONS

           Defendants assert the following general objections, which are incorporated into

  each of Defendants’ specific responses below:

           1.        Defendants object to the Requests to the extent that they seek documents

  or information protected from disclosure by the attorney-client privilege, the work-product

  doctrine, the joint defense or common interest privilege, or any other applicable privilege.

  Defendants specifically reserve the right to demand the return or destruction of any




                                                                                    Ex. 13
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             Charles Bantis, Market President for Aspen. Mr. Bantis has no licenses or
              certificates.

             Andrew Godfrey, Wealth Advisor and Client Strategist. Mr. Godfrey has no
              licenses or certificates.

             Douglas Barker, Portfolio Manager. Mr. Barker has the following licenses or
              certificates: Certified Financial Planner and Accredited Investment Fiduciary.

             Travis Van Domelen, Assistant Portfolio Manager. Mr. Van Domelen has the
              following licenses or certificates: Certified Financial Planner.

             John Sawyer, Chief Investment Officer. Mr. Sawyer has the following licenses
              or certifications: Chartered Financial Analyst.

        9.       Identify any changes or amendments to FWTB’s policies and procedures

  that resulted, at least in part, due to FWTB’s management of the Trusts.

        Response to Interrogatory No. 9: None.

        10.      Identify any occasions where the Flecks either individually or together met

  with employees of FWTB from 2018 to 2019. For each meeting specify who was in

  attendance and the topics discussed, and instructions that were given.

        Response to Interrogatory No. 10: Defendants object to this request as seeking

  information that is not relevant to the parties’ claims and defenses insofar as it seeks

  information relating to services performed by FWTB for the Flecks other than

  management of the Trusts’ investment accounts. Defendants object to this request as

  unduly burdensome and not proportional to the needs of the case because it seeks a

  description of “all” occasions, without any limitation targeted at the parties’ claims and

  defenses.

        Subject to their objections, Defendants state that Aaron Fleck often came into

  FWTB’s Aspen office without setting a meeting, and FWTB and its representatives


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  routinely discussed with Mr. Fleck the Trusts’ investment accounts and other business.

  Defendants also communicated with Plaintiffs by telephone, email, and mail. In addition,

  and based on a reasonable investigation, Defendants identify the following specific

  meetings, which are not necessarily all encompassing:

           February 9, 2018. John Sawyer, Travis Van Domelen, Andy Godfrey, and
            Doug Barker met with Aaron Fleck, Aaron’s daughter Katherine Peisach, and
            Katherine’s husband Harry Peisach to discuss potentially investing funds on
            Mr. Fleck and Barbara Fleck’s behalf using FWTB’s conservative investment
            model.

           November 6, 2018. Charlie Bantis, Doug Barker (by phone), Andy Godfrey, and
            Travis Van Domelen met with Aaron Fleck in FWTB’s Aspen office. Topics
            discussed included investment performance, market conditions, and
            investment strategy.

           December 2018. Aaron Fleck came into FWTB’s Aspen office on several
            occasions and had discussions with Andy Godfrey, Travis Van Domelen, and
            Charles Bantis. Mr. Fleck was told that FWTB had taken approximately
            $140,000 in capital losses in the Trusts’ accounts. Mr. Fleck did not ask FWTB
            to take additional losses. Mr. Fleck discussed that he thought his assistant
            (Kim Baillargeon) was stealing from him and asked for detailed information
            about his checking account.

           January 2019. Aaron Fleck came into FWTB’s Aspen office and had
            discussions with Andy Godfrey, Travis Van Domelen and possibly Charles
            Bantis. Mr. Fleck brought up for the first time that he wished FWTB had taken
            additional capital losses in 2018.

           January 14, 2019. Andy Godfrey met with the Flecks at their house. The topics
            discussed included the fact that the Flecks were spending too much money,
            and it was unsustainable, that the Flecks wanted to sue the developer of their
            house, and FWTB’s bills and trustee services.

           February 6, 2019. Charlie Bantis, Doug Barker, Andy Godfrey, and Travis Van
            Domelen met with Aaron Fleck at FWTB’s Aspen office. At the meeting, Mr.
            Fleck stated he wanted to move his investments to another bank. He also
            stated that FWTB should have known the he wanted it to take additional capital
            losses for his accounts in 2018.




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            March 18, 2019. Andrew Godfrey and Charlie Bantis met with Aaron Fleck at
             FWTB’s Aspen office. At the meeting, Mr. Fleck claimed that FWTB ignored
             his request to take all losses in 2018. Mr. Godfrey stated that Mr. Fleck never
             gave FWTB explicit instructions to take all losses. In response, Mr. Fleck stated
             “it was implied” and you “should have known to do so.” Elise Cohen walked
             Mr. Fleck to his car after the meeting, and Mr. Fleck did not recognize her, even
             though they have known each other for twenty years.

            April 12, 2019. Andrew Godfrey met with Aaron Fleck. Mr. Fleck stated he
             was moving his investment accounts to Citibank. After offering to settle for
             $100,000, Mr. Fleck threatened to sue FWTB for hundreds of millions of dollars.
             Mr. Fleck stated that he had “quarterbacked” ten class action lawsuits in his
             lifetime, and countless other smaller suits.

            April 15, 2019. Aaron Fleck met with Charlie Bantis at FWTB’s office in Aspen.
             Mr. Fleck discussed a potential lawsuit against FWTB, his former lawsuit
             against the “Pirate of Prague,” that he still wanted FWTB to serve as a co-
             trustee of his estate, and discord in his family.

            May 17, 2019. Aaron Fleck and Charlie Bantis had a conversation by
             telephone. Mr. Fleck stated he was selling his apartment in Aspen for
             approximately $3 million, and he could use the tax losses from the Trusts’
             accounts to offset his gains in that apartment. Mr. Fleck also stated he did not
             want to sue FWTB.

            May 20, 2019. Aaron Fleck and Charlie Bantis had a conversation by
             telephone. They discussed a potential settlement. Mr. Fleck rejected an offer
             for fee credits, and stated he would be suing FWTB for millions of dollars.

                      REQUESTS FOR PRODUCTION OF DOCUMENTS

        1.      Produce all statements, Documents, and Communications detailing the

  portfolio holdings of the Trusts sent from You to Plaintiffs pursuant to the Investment

  Policy Statement.

        Response to Request for Production No. 1: Defendants object to this request as

  unduly burdensome and not proportional to the needs of the case to the extent it requires

  production of all Documents and Communications, even duplicative ones and ones that

  can only be located based on an unreasonably burdensome search.


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  documents that are not relevant to the parties’ claims and defenses, and as being unduly

  burdensome and not proportional to the needs of the case.

        Subject to their objections, as described above, Defendants have conducted a

  reasonable search for documents responsive to Plaintiffs’ Requests for Production, and

  have produced the non-privileged documents identified based on that search.


        Respectfully submitted this 13th day of December, 2021.

                                          /s/ Adam B. Stern
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                               CERTIFICATE OF SERVICE

         I hereby certify that on this 13th day of December, 2021, a true and correct copy
  of the foregoing DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’
  FIRST SET OF DISCOVERY REQUESTS was served by email to counsel of record as
  follows:

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